Case 9:17-bk-10086-FI\/|D Doc 13 Filed 01/09/18 Page 1 of 2

Fil| in this information to identify your case:
Debtor1 Gary Gissiner
Firsl Na.me Midd|o Name Last Name

Debtor 2 _C_tharmaine R Gissiner
{Spouse ii. Eling} First Narne Middle blame Last Name

United States Bankruptcy Court for the: M|DDLE D|STR|CT OF FLORlDA

 

Case number 1T-bk-10086
or among |E Check ii this is an
amended ming

 

 

Ofticia| Form 108
Statement of intention for individuals Filing Under Chapter 7 ms

 

lf you are an individual filing under chapter 'r', you must till out this form if:

121 creditors have claims secured by your propertyl or

[Zl you have leased personal property and the lease has not expired.

You must tile this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlierl unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

lf two married people are filing together in ajoint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possib|e. lf rnore space is neededl attach a separate sheet to this form. On the top of any additional pages,
write your name and case number {if known}.

List Your Creditors Who Have Secured C|aims

1. For any creditors that you listed in Part1 of Schedule D: Creditors Who Have C|aims Secured by Property (Official Form 106D), fill in the
information below. _ _ _ _
identify the creditor and the property that is collateral What do you intend to do with the property that Did you-claim the property

 

 

 

 

 

 

secures a debt? as exempt on Schedule C?

Creditor'$ A||y Financial m Surrender the property, [:] No
name: |:I Retain the property and redeem it.

lz| Retain the property and enter into a m Y€S
DBSCFFD“O" 0f 2010 Dodge Grand Caravan Reafiinnatr'on Agreement.
Property 87000 miles |:\ Retain the property and [explain]:
Secuan debt Location: 2220 SE 5th St

Cape Coral, FL 33990

Cl’ediiOr’S Har|ey Davidson Credit l:l Surrender the propeny. l:] No
name: ' I:j Retain the property and redeem it.

IE Retain the property and enter into a |Zl YSS
Descriplion Of 2007 Harley Davidson Fat Boy Rearnnnation Agreement,
Property Location: 2220 SE 5th St [:] Retain the property and [explain}:
securing debt: Cape Cora|, FL 33990
Credilor’$ Nationstar Mortgage {fl Surrender the property m No
name: _ l___] Retain the property and redeem it.

[:1 Retain the property and enter into a \:] YES
Description of 2220 SE 5th St Cape Corai, FL Reaftinnation Agreement.
Property 33990 Lee County l:] Retain the property and [expiain]:
securing debt:

Ofiicial Form 108 Statement of intention for individuals Fiiing Under Chapter? page 1

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Debtor 1 Gary Gissiner
Debtor2 Charmaine R Gissiner

Creditor's State Farm Bank
name:

Desl=ription Of 2016 Hyundai Santa Fe

Case number (ir known 17-bk-1 0086

 

m Surrender the property. iii No
I:I Retain the property and redeem it.
I:] Retain the property and enter into a l:l Yes

Rearrirmair'on Agreement

ijrope"t¥ Location: 2220 SE 5th St
SeCU"i"Q debt Cape COral, FL 33990

ll Retain the property and [expiain]:

 

 

Creditol‘$ Synchrony Bank IE Surrenderthe property. [E No
name: [j Retain the property and redeem it.

l:l Retain the property and enter into a i:i Yes
DeSCriniOn Of 2016 Poiaris S|ing Shot Reaf)innation Agreement

Property Location: 2220 SE 5th St

l:] Retain the property and [expiain]:
securing deth Cape Col‘al, FL 33990

 

 

 

List Your Unexpired Personal Property L
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases {Oflicia| Form 1066], fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365{p]{2).

Describe your'u'nexpired personal property leases Wi|l the lease be assumed?

 

  

 

 

 

 

 

Lessor's name: |:\ No
Description of leased
Property: E Yes
Lessor's name: \:i Na
Descripiion of leased
Property: l:l Yes
Lessor's name: [:] No
Description of leased
Property: I:} Yes
Lessor's name: m No
Description of leased
Property: m Yes
Lessor's name: m No
Description of leased
Property: E Yes
Lessor's name: |:l No
Description of ieased
Property: [:] Yes
Lessor's name: |:] No
Description of leased
Property: |:l Yes
Sign Beiovv
Under penalty of perjury, i declare that l have indicated my intention about a perty of my estate that cures a debt and any personal
pmth is subject to a nexpired lease. r - o p
xc, W/ , H//M/ JMLM>
Gary Gis her " Charmaine R Gissl§ér
Signat of Debtor 1 Signature of Debior 2
. 6
pate |“Q“~"‘% Date i‘*q**'©
Ofiiciai Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

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